      Case 3:19-cv-01707 Document 1 Filed 07/23/19 Page 1 of 26



                    IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF PUERTO RICO

SUJEIL  PEÑA-TORRES;   JOSE  E.
BLASCO-JUSINO;          LUCERO           CIVIL NO. 19-1707
RODRIGUEZ-FERNANDEZ; LISA M.
TORRES-COLON; JOFFRE E. GOMEZ-
FRONTERA; ZABDIEL A. NIEVES-
RIVERA; ENNY DE JESUS-UREÑA;             RACKETEER    INFLUENCED    AND
LORAIMA M. ROSADO VILLAFAÑE;             CORRUPT    ORGANIZATIONS   ACT
PAOLA M. PROSPER-CRESPO                  (RICO);
                                         FRAUDULENT INDUCEMENT;
PLAINTIFFS                               BREACH OF CONTRACT;
                                         UNJUST ENRICHMENT;
VS.                                      TORT DAMAGES

UNIVERSITY OF SCIENCE, ARTS AND TRIAL BY JURY DEMANDED
TECH a/k/a USAT a/k/a MEDICAL
COLLEGE OF LONDON a/k/a MALINA
MEDICAL          COLLEGE            a/k/a
METROPOLITAN              INNOVATIVE
GROUP, INC. a/k/a USAT MONTSERRAT
LLC; ORIEN L. TULP, his spouse JANE
DOE and the conjugal partnership between
them; CARLA M. KONYK, her spouse
JOHN DOE and the conjugal partnership
between them; MANUEL JOSE ORTIZ-
BUSTILLO, his spouse JANE DOE and the
conjugal partnership between them;
YANIRE BUSTILLO, her spouse JOHN
DOE and the conjugal partnership between
them; DANIELA CABRERA-PUJADAS,
her spouse JOHN DOE and the conjugal
partnership between them; KAREN
BALDWIN, her spouse JOHN DOE and the
conjugal partnership between them;
INSURANCE        COMPANY           XYZ;
COMPANY ABC; JOHN & JANE DOE.

DEFENDANTS

                                  COMPLAINT

TO THE HONORABLE COURT:
      Case 3:19-cv-01707 Document 1 Filed 07/23/19 Page 2 of 26



         COMES NOW, Sujeil Peña-Torres, Jose E. Blasco-Jusino, Lucero Rodriguez-

Fernandez, Lisa M. Torres-Colon, Joffre E. Gomez-Frontera, Zabdiel A. Nieves-Rivera

Enny de Jesus-Ureña, Loraima M. Rosado-Villafañe and Paola M. Prosper-Crespo (jointly

referred as “Plaintiffs”), through the undersigned attorneys and very respectfully states, alleges

and prays as follows:

                                      PRELIMINARY STATEMENT

         1.       Plaintiffs are first and second year medical students whom applied and studied at

the Puerto Rico Branch (“PR Branch”) of the University of Science, Arts and Tech a/k/a USAT

a/k/a Medical College of London a/k/a Malina Medical College a/k/a Metropolitan Innovative

Group, Inc a/k/a USAT Montserrat LLC (jointly referred as “USAT”). The joint owners of

USAT are Orien L. Tulp (“Tulp”) and Carla M. Konyk (“Konyk”). The Directors and Officers of

USAT were composed by Tulp, Konyk, Manuel José Ortiz-Bustillo (“Ortiz”), Yanire Bustillo

(“Bustillo”), Daniela Cabrera-Pujadas (“Cabrera”) and Karen Baldwin (“Baldwin”) (jointly

referred as “USAT Officers”), amongst other unknown persons1.

         2.       The USAT Officers, as representatives of USAT, violated the Racketeer

Influenced and Corrupt Organizations Act (“RICO”), 18 USC sec. 1961, et seq. when they

incurred in a pattern of fraudulent activities during approximately 2017 up until late 2018/early

2019. During this time period, the USAT Officers coordinated and directed fraudulent mail and

wire transfers between Colorado, Puerto Rico and other states. These fraudulent mail and wire

transfers consisted of 1) falsely representing to the Plaintiffs that the PR Branch of USAT is a

licensed and accredited medical school for first and second year medical students pursuant to the

requirements of the Educational Commission for Foreign Medical Graduates (“ECFMG”), 2)


1
 The Plaintiffs’ reserve the right to amend the complaint if any new identification evidence is discovered during the
course of the discovery of the case at bar.




                                                          2
      Case 3:19-cv-01707 Document 1 Filed 07/23/19 Page 3 of 26



falsely representing information by omitting or not disclosing that the PR Branch of USAT was

only a licensed and accredited medical school pursuant to ECFMG for medical students who

were on their third- and fourth-year clinical rotation, 3) falsely representing the nature of the PR

Branch of USAT to the Plaintiffs, other first and second year medical students (“other RICO

victims”), other medical education and regulatory agencies (“Regulatory Agencies”), and

banking institutions (“Banks”) in a scheme with intent to defraud, 4) falsely representing the

nature of the PR Branch of USAT in order to receive payment in exchange for education in

medicine, and 5) falsely representing information by omitting and not disclosing that the

education received by the Plaintiffs and other Rico Victims did not qualify for the medical

licensing examinations pursuant to ECFMG.

         3.       These patterns of fraudulent activities incurred by USAT and the USAT Officers

(jointly referred to as “Defendants”) caused injuries to the Plaintiffs, such as economic and

emotional damages.

         4.       Plaintiffs file this civil action against the Defendants for violating the Racketeer

Influenced and Corrupt Organizations Act (“RICO”), 18 USC sec. 1961 et seq. Additionally,

Plaintiffs file this civil action against the Defendants for Fraudulent Inducement (“Dolo”)

pursuant to Articles 1217 et seq. of Puerto Rico’s Civil Code, 31 LPRA secs. 3404 et seq.;

Material Breach of Contract pursuant to Articles 1206 et seq. of Puerto Rico’s Civil Code, 31

LPRA secs. 3371 et seq.; Unjust Enrichment and Tort Damages pursuant to Articles 1802 and

1803 of Puerto Rico’s Civil Code, 31 LPRA secs. 5141, 51422.

         5.       Plaintiffs seek compensatory, punitive, double, treble and liquidated damages and

equitable and injunctive relief for Defendants’ actions. In addition, Plaintiffs reserves the right


2
 Plaintiffs’ reserve the right to amend the complaint if any new identification evidence is discovered during the
course of the discovery of the case at bar.




                                                           3
     Case 3:19-cv-01707 Document 1 Filed 07/23/19 Page 4 of 26



for any other specific remedies that restore them to the position that they would have held in the

absence of Defendants’ actions

                                       JURISDICTION AND VENUE

       6.      The United States District Court for the District of Puerto Rico has jurisdiction

over this action under 28 U.S.C. sec. 1331 since the matter of this civil action arises under the

Constitution, laws, or treaties of the United States. Specifically, Plaintiff files this action

pursuant to RICO, 18 USC sec. 1961 et seq.

       7.      Plaintiff further invokes pendent or supplemental jurisdiction of this Court under

28 USC sec. 1367 to hear Puerto Rico law claims arising from the same nucleus of operative

facts. Specifically, Plaintiffs file this civil action against the Defendants for Fraudulent

Inducement (“Dolo”) pursuant to Articles 1217 et seq. of Puerto Rico’s Civil Code, 31 LPRA

secs. 3404 et seq.; Material Breach of Contract pursuant to Articles 1206 et seq. of Puerto Rico’s

Civil Code, 31 LPRA secs. 3371 et seq.; Unjust Enrichment and Tort Damages pursuant to

Articles 1802 and 1803 of Puerto Rico’s Civil Code, 31 LPRA secs. 5141, 5142. Plaintiff

reserves the right to amend/modify the Complaint based on further facts to be discovered.

       8.      Pursuant to 28 U.S.C. sec. 1391 (a), venue is proper in the District of Puerto Rico

because the events that justify the causes of action occurred in this district.

                                             PARTIES

       9.      During 2017 and 2018, the Plaintiffs were student applicants and students at the

USAT PR Branch. Plaintiffs are all U.S. citizens and residents of the Commonwealth of Puerto

Rico. The Plaintiffs are as follows:




                                                   4
Case 3:19-cv-01707 Document 1 Filed 07/23/19 Page 5 of 26



       a. Sujeil Peña-Torres (“Peña”) is of legal age, student, single, domiciled and

          resident of San Juan, Puerto Rico. Peña’s address is the following: Urb. Venus

          Gardens Calle Peliux 771, San Juan PR 00926.

       b. Jose E. Blasco-Jusino (“Blasco”) is of legal age, student, single, domiciled

          and resident of Ponce, Puerto Rico. Blasco’s address is the following: 1369

          Urb. Mercedita Calle Bonita, Ponce PR 00717.

       c. Lucero Rodriguez-Fernández (“Rodriguez”) is of legal age, student, single,

          domiciled and resident of Toa Baja, Puerto Rico. Rodriguez’ address is the

          following: Con.Paseo Abril, Apt. 1205, Toa Baja, PR 00949.

       d. Lisa M. Torres-Colon (“Torres”) is of legal age, student, single, domiciled and

          resident of Villalba, Puerto Rico. Torres’ address is the following: Urb. La

          Vega Calle C #85, Villalba, PR 00766.

       e. Joffre E. Gómez-Frontera (“Gomez”) is of legal age, student, single,

          domiciled and resident of Maricao, Puerto Rico. Gomez’ address is the

          following: Bo. Indiera Alta, RR01 Km 31.1, Mailbox 4620, Maricao, PR

          00606.

       f. Zabdiel A. Nieves-Rivera (“Nieves”) is of legal age, student, single, domiciled

          and resident of San German, Puerto Rico. Nieves’ address is the following:

          #79 Calle Paz, H2 Urb. Paseos del Valle, San German, PR 00683-9211.

       g. Enny de Jesús-Ureña (“de Jesus”) is of legal age, student, single, domiciled

          and resident of Bayamon, Puerto Rico. de Jesus’ address is the following:

          Calle Julia AN1, Urb. Villa Rica, Bayamon, PR 00959.




                                        5
     Case 3:19-cv-01707 Document 1 Filed 07/23/19 Page 6 of 26



              h. Loraima M. Rosado-Villafañe (“Rosado”) is of legal age, student, single,

                  domiciled and resident of Jayuya, Puerto Rico. de Jesus’ address is the

                  following: Carr. 144, Km. 1 HM0, Bo. Rio Grande, Jayuya, PR 00664.

              i. Paola M. Prosper-Crespo (“Prosper”) is of legal age, student, single,

                  domiciled and resident of Mayaguez, Puerto Rico. de Jesus’ address is the

                  following: Paraiso de Mayaguez, Calle Serenidad 193, Mayaguez, PR 00680.

       10.    According to information and belief, Defendant University of Science, Arts and

Tech a/k/a USAT a/k/a Medical College of London a/k/a Malina Medical College a/k/a

Metropolitan Innovative Group, Inc a/k/a USAT Montserrat LLC (jointly referred as “USAT”)

are the names of various legal entities or associations created and owned jointly by Tulp and

Konyk. All these entities are private legal entities that are wholly owned and managed by both

Tulp and Konyk for the purposes of providing medical education. USAT is an alter ego of Tulp

and Konyk, whom both are personally liable for any and all responsibilities incurred by USAT.

The different addresses held out by these different entities are the following: 1) PO Box 506,

South Mayfield Estate Drive, Olveston, Montserrat, British West Indies, 2) 3442 Ash St.,

Denver, CO, 80207, 3) 4288 Youngfield St., Wheat Ridge, CO 80033, 4) PO Box 364 364363,

San Juan, PR 00936-4363, 5) 598 Ave. Barbosa, Esq. Calle Guayama, San Juan, PR 00919.

Plaintiffs reserve the right to amend the Complaint once more information is discovered.

       11.    According to information and belief, Defendant Tulp is the joint owner, Professor

and President of USAT. His current address is unknown. On information and belief, the

Plaintiffs incorporate by reference the five addresses used by USAT. Tulp has a spouse, Jane

Doe, and they have a conjugal partnership between them. Plaintiffs reserve the right to amend

the Complaint once more information is discovered.




                                                6
     Case 3:19-cv-01707 Document 1 Filed 07/23/19 Page 7 of 26



       12.    According to information and belief, Defendant Konyk is the joint owner, Vice

President and Director of Administration and Finances of USAT. Her current address is

unknown. On information and belief, the Plaintiffs incorporate by reference the five addresses

used by USAT. Konyk has a spouse, John Doe, and they have a conjugal partnership between

them. Plaintiffs reserve the right to amend the Complaint once more information is discovered.

       13.    According to information and belief, Defendant Ortiz is Director and Dean of the

PR Branch of USAT. His current address is unknown. On information and belief, the Plaintiffs

incorporate by reference the five addresses used by USAT. Ortiz has a spouse, Jane Doe, and

they have a conjugal partnership between them. Plaintiffs reserve the right to amend the

Complaint once more information is discovered.

       14.    According to information and belief, Defendant Bustillo is the Registrar and

Human Resources Supervisor of the PR Branch of USAT. Her current address is unknown. On

information and belief, the Plaintiffs incorporate by reference the five addresses used by USAT.

Bustillo has a spouse, John Doe, and they have a conjugal partnership between them. Plaintiffs

reserve the right to amend the Complaint once more information is discovered.

       15.    According to information and belief, Defendant Cabrera is the Clinical

Coordinator- Student Affairs of the PR Branch of USAT. Her current address is unknown. On

information and belief, the Plaintiffs incorporate by reference the five addresses used by USAT.

Cabrera has a spouse, John Doe, and they have a conjugal partnership between them. Plaintiffs

reserve the right to amend the Complaint once more information is discovered.

       16.    According to information and belief, Defendant Baldwin is an Administrator of

USAT located in Colorado. Her current address is unknown. On information and belief, the

Plaintiffs incorporate by reference the five addresses used by USAT. Baldwin has a spouse, John




                                                 7
     Case 3:19-cv-01707 Document 1 Filed 07/23/19 Page 8 of 26



Doe, and they have a conjugal partnership between them. Plaintiffs reserve the right to amend

the Complaint once more information is discovered.

       17.       Co-Defendant, Insurance Company XYZ (“Insurance Company XYZ”), held an

insurance policy in favor of the Defendants. At the time of the incidents described herein,

Insurance Company XYZ held an insurance policy in favor of the Defendants’, specifically to

cover said contractual claims. Their current address is unknown. Plaintiffs reserve the right to

amend the Complaint once more information is discovered.

       18.       Co-Defendant, Company ABC (hereinafter referred to as “Company ABC”), is

another business company, which is the parent company or an affiliated company of the

Defendants, that directed and had knowledge of Defendants’ acts or omissions of which Plaintiff

is complaining. Their Current address is unknown. Plaintiffs reserve the right to amend the

Complaint once more information is discovered.

       19.       Co-Defendant, John & Jane Doe (hereinafter referred to as “Doe”), is another

agent, supervisor, official or director who is affiliated with the Defendants, who directed and had

knowledge of Defendants’ acts or omissions of which Plaintiff is complaining. Their Current

address is unknown. Plaintiffs reserve the right to amend the Complaint once more information

is discovered.

                                          THE FACTS

       20.       According to information and belief, Tulp and Konyk created USAT to be a

medical school dedicated to providing education for medical students pursuing their medical

license.

       21.       According to information and belief, Tulp and Konyk established USAT around

the year of 2003.




                                                 8
     Case 3:19-cv-01707 Document 1 Filed 07/23/19 Page 9 of 26



          22.   According to information and belief, Tulp and Konyk founded USAT at the

Caribbean island of Montserrat, a British Overseas Territory.

          23.   According to information and belief, Tulp and Konyk sought credentials and

licenses for USAT from the Government of Montserrat, a British Overseas Territory.

          24.   According to information and belief, Tulp and Konyk created different legal

entities with different names throughout the years such as: University of Science, Arts and Tech

a/k/a USAT a/k/a Medical College of London a/k/a Malina Medical College a/k/a Metropolitan

Innovative Group, Inc a/k/a USAT Montserrat LLC (jointly referred as “USAT”).

          25.   According to information and belief, all these different entities were jointly

owned and operated by Tulp and Konyk.

          26.   According to information and belief, Tulp and Konyk, under the veil of USAT,

operated some “satellite” USAT sites, promoting the medical school in other territories and

states.

          27.   According to information and belief, Tulp and Kony created these “satellite”

USAT sites in the following locations: 1) Tampa, FL, 2) Miami, FL, 3) Baltimore, MD, and 4)

Dallas/Fort Worth, TX.

          28.   According to information and belief, these “satellite” sites were created prior to

2017, when allegedly the Montserrat Volcano forced USAT to abandon its main campus and

create these “satellite” sites in other locations.

          29.   According to information and belief, ECFMG generally requires that the first- and

second-year medical students must personally attend a main campus setting in order to be

eligible for medical license examinations.




                                                     9
    Case 3:19-cv-01707 Document 1 Filed 07/23/19 Page 10 of 26



       30.     According to information and belief, ECFMG temporarily granted USAT to

operate these “satellite” sites without requiring the first- and second-year students to personally

attend a main campus.

       31.     According to information and belief, ECFMG still required that USAT comply

with the condition in the future with other prospective first- and second-year students to

personally attend the USAT main campus.

       32.     According to information and belief, Tulp and Konyk contacted Ortiz, who is

from Puerto Rico prior to the year of 2017.

       33.     According to information and belief, Tulp, Konyk and Ortiz agreed to establish a

USAT PR Branch in Puerto Rico around the year of 2017 as an extension of the main campus

and/or main campus of USAT.

       34.     According to information and belief, Tulp, Konyk and Ortiz knowingly agreed to

open an USAT PR Branch in Puerto Rico in 2017 as a college of medicine whereas students

must personally attend classes in compliance with ECFMG standards.

       35.     However, according to information and belief, Tulp, Konyk and Ortiz knowingly

opened a USAT PR Branch in Puerto Rico in 2017 in violation of ECFMG because they did not

seek the proper license and/or credentials to open an extension of the main campus and/or main

campus of USAT.

       36.     According to information and belief, Tulp, Konyk and Ortiz knowingly opened a

school for medicine to assist first- and second-year medical students when in fact said school of

medicine would not allow first and second year medical student be eligible to take the medical

licensing examination pursuant to the requirements of ECFMG.




                                                 10
    Case 3:19-cv-01707 Document 1 Filed 07/23/19 Page 11 of 26



       37.     According to information and belief, Tulp, Konyk and Ortiz sought the assistance

of Bustillo, Cabrera and Baldwin to assist in administrating the USAT PR Branch as an

extension of main campus and/or main campus even though it did not have the license and/or

credentials to be able to assist first- and second-year medical students to be eligible to take the

medical licensing examination pursuant to the requirements of ECFMG.

       38.     According to information and belief, Tulp, Konyk, Ortiz, Bustillo, Cabrera and

Baldwin (“USAT Officers”) actively sought to recruit potential first year and second year

students while omitting the prospective students that the USAT PR Branch did not have the

proper licenses and/or accreditations necessary.

       39.     According to information and belief, after the USAT Officers obtained medical

applicants for the USAT PR Branch, the USAT Officers falsely informed the Regulatory

Agencies that the medical applicants were from other “satellite” sites described in paragraph 27,

instead from the USAT PR Branch.

       40.     According to information and belief, the USAT Officers falsely represented to the

Plaintiffs and other RICO victims that the USAT PR Branch was a licensed and accredited

medical school because it was an extension of the main campus and/or main campus of USAT.

       41.     According to information and belief, the USAT Officers falsely represented to the

Plaintiffs and other RICO victims that the USAT PR Branch would assist them to gain credits in

order to be eligible for the medical licensing examinations pursuant to ECFMG.

       42.     According to information and belief, the USAT Officers directed the

beforementioned false representations via interstate mail and wire transfers to the Plaintiffs and

other RICO victims.




                                                   11
    Case 3:19-cv-01707 Document 1 Filed 07/23/19 Page 12 of 26



         43.   According to information and belief, the USAT Officers induced the Plaintiffs

and other RICO victims to enter into various transactions in order to pay for the education at the

USAT PR Branch.

         44.   According to information and belief, the USAT Officers induced some Plaintiffs

to directly pay USAT for the medical education at the USAT PR Branch.

         45.   According to information and belief, the USAT Officers falsely represented to

some Plaintiffs that said direct payments were for a valid reason, that is, to obtain medical

education at the USAT PR Branch for the purpose of being eligible for the medical licensing

examination pursuant to ECFMG.

         46.   According to information and belief, the USAT Officers persuaded some

Plaintiffs and other RICO victims to seek financial assistance by requesting student loans from

Banks.

         47.   According to information and belief, the USAT Officers falsely represented to the

Plaintiffs, the other RICO victims and the Banks that the student loans were for a valid reason,

that is, to obtain medical education at the USAT PR Branch for the purpose of being eligible for

the medical licensing examination pursuant to ECFMG.

         48.   According to information and belief, the USAT Officers did not disclose and

omitted to the Plaintiffs, the other RICO victims and the Banks that the medical education at the

USAT PR Branch would not assist Plaintiffs and other RICO victims to be eligible for the

medical licensing examinations pursuant to ECFMG.

         49.   According to information and belief, the Banks that issued the student loans

directed said payment to USAT and not to the Plaintiffs or other RICO victims.




                                                 12
    Case 3:19-cv-01707 Document 1 Filed 07/23/19 Page 13 of 26



        50.   According to information and belief, the USAT Officers received the student loan

payments “on behalf” of the Plaintiff and the other RICO Victims.

        51.   According to information and belief, the USAT Officers falsely represented to the

Plaintiffs and other RICO victims, invoices regarding medical education costs and expenses.

        52.   According to information and belief, the USAT Officers falsely created medical

education costs and expenses which were not necessary for the first- and second-year medical

education.

        53.   According to information and belief, the USAT Officers falsely created medical

education costs and expenses in a scheme to defraud the Plaintiffs, the other RICO victims and

the Banks.

        54.   According to information and belief, the USAT Officers knowingly participated

in this scheme with intent to defraud by using mail or interstate wire in furtherance of the

fraudulent scheme.

        55.   This scheme to defraud occurred approximately from early 2017 until present

time.

        56.   In or around September of 2018, the Plaintiffs and other RICO victims were

studying and preparing to take the medical licensing examination pursuant to the ECFMG.

        57.   In or around September of 2018, the Plaintiffs and other RICO victims began the

process in order to take the medical licensing examination pursuant to the ECFMG.

        58.   During the process to take the medical licensing examination, ECFMG requires

the applicants to submit information under penalty of perjury via an affidavit detailing their

medical school information, including additional information such as attendance.




                                                13
    Case 3:19-cv-01707 Document 1 Filed 07/23/19 Page 14 of 26



       59.     Specifically, ECFMG requires the applicants to submit the information that the

medical students physically attended their medical classes at a main campus.

       60.     According to information and belief, in or around September of 2018, other RICO

victims personally sent affidavits to the ECFMG detailing their medical education at the USAT

PR Branch as an extension of the main campus and/or main campus of USAT.

       61.     According to information and belief, in or around September of 2018, the

ECFMG informed the other RICO Victims that they were not eligible for the medical licensing

exam pursuant to ECFMG.

       62.     According to information and belief, in or around September of 2018, the

ECFMG informed the other RICO Victims that they were not eligible for the medical licensing

exam because the USAT PR Branch was not licensed and accredited pursuant to the

requirements of ECFMG.

       63.     According to information and belief, in or around September of 2018, the

ECFMG informed the other RICO Victims that the information provided in the affidavits were

inconsistent with the information provided by USAT, because USAT never informed ECFMG

that the USAT PR Branch was an extension of main campus and/or main campus.

       64.     According to information and belief, in or around September of 2018, the

ECFMG informed the other RICO Victims that the information provided in the affidavits were

inconsistent with the information provided by USAT, because USAT only informed ECFMG

that their main branch is located in Montserrat.

       65.     In or around September of 2018, the Plaintiffs were notified of the ECFMG

irregularities and their denial to other RICO victims because they were not eligible to take the

medical licensing exam.




                                                   14
    Case 3:19-cv-01707 Document 1 Filed 07/23/19 Page 15 of 26



        66.   In or around September of 2018, USAT Officials notified the Plaintiffs and other

RICO victims of the ECFMG irregularities.

        67.   Around September 24th of 2018, USAT Officials notified the Plaintiffs of a

telephone conference to be held on September 26th of 2018 to discuss the ECFMG irregularities.

        68.   In that September 26th telephone conference, Tulp and the attorneys of USAT

addressed the Plaintiff’s concerns regarding the ECFMG process to be able to take the medical

license examination.

        69.   During that September 26th telephone conference, Tulp instructed the Plaintiffs to

falsely inform ECFMG that the Plaintiffs took their medical classes at the Montserrat main

campus.

        70.   Once the Plaintiffs heard from USAT Officials to submit false information to

ECFMG, the Plaintiffs began to investigate the inconsistent statements made by the USAT

Officials.

        71.   During September, October and November of 2018, the Plaintiffs and other RICO

Victims sent numerous communications to Defendants inquiring as to why they could not take

the medical licensing examination.

        72.   During September, October and November of 2018, the USAT Officials dodged

and evaded questions by the Plaintiffs and other RICO victims regarding their lack of eligibility

for the medical license examinations.

        73.   During October of 2018, Ortiz sent an e-mail to Plaintiffs and other RICO victims

instructing them to not use their personal e-mails and only use USAT e-mails for “internal

communications”.




                                                15
    Case 3:19-cv-01707 Document 1 Filed 07/23/19 Page 16 of 26



        74.    During early November of 2018, the USAT Officials instructed the Plaintiffs and

other RICO Victims to not send additional information to ECFMG outside the instructions of

USAT.

        75.    During early November of 2018, the USAT Officials instructed the Plaintiffs and

other RICO Victims to send all information regarding ECFMG to Konyk, who would then refer

Plaintiffs and other RICO Victims to USAT’s attorney.

        76.    During early November of 2018, the USAT Officials also tried to invite the

Plaintiffs and other RICO Victims to transfer to start again at other medical schools suggested by

USAT.

        77.    On November 8th of 2018, Ortiz sent an e-mail to the Plaintiffs and other RICO

Victims regarding ECFMG’s decision to find the Plaintiffs and other RICO Victims not eligible

for the medical licensing examination. In that e-mail, Ortiz falsely represented to Plaintiffs and

other RICO Victims that the Defendants were “surprised” by ECFMG’s decision.

        78.    Subsequent to this e-mail Plaintiffs and other RICO victims demanded a physical

meeting with Ortiz to discuss face to face these surprising events.

        79.    On November 16th, 2018, USAT Officials sent an electronic mail to some

Plaintiffs invoking a meeting on that same date at around 5:30 pm.

        80.    However, the meeting was delayed until 10 pm, when Ortiz arrived.

        81.    Between 5:30 pm and 10 pm, some of the Plaintiffs and other RICO victims met

with a Mr. Santiago, whom was identified as another USAT official.

        82.    During the meeting with Mr. Santiago, the Plaintiffs and other RICO victims

established a line of questions for Ortiz to answer on behalf of USAT concerning the following:

1)USAT PR Branch’s licensing and/or certification status as an extension of main campus and/or




                                                 16
    Case 3:19-cv-01707 Document 1 Filed 07/23/19 Page 17 of 26



main campus, 2) USAT PR Branch’s status with ECFMG, 3) USAT PR Branch’s finances and

student loan program, and 4) what were USAT PR Branch’s plan to attend the Plaintiff’s and

other RICO victims’ concerns as described above.

       83.     When Ortiz arrived at 10 pm, Plaintiffs’ line of questions were answered again

evasively and without any concrete answers.

       84.      Ultimately, the November 16th, 2018 meeting did not produce any results.

       85.     Another meeting was held by Ortiz on December 18th, 2018 to try to resolve the

Plaintiffs’ and other RICO victim’s situation.

       86.     Ortiz physically met with Plaintiffs and other RICO victims at the Mall of San

Juan in late 2018.

       87.     During said meeting, Ortiz admitted to the Plaintiffs and other RICO victims that

they should not bother going to the other medical schools suggested by USAT.

       88.     Additionally, Ortiz admitted during the meeting that USAT lawyers advised him

to not speak about USAT’s activities for approximately five years.

       89.     When the Plaintiffs and other RICO victims asked what he meant about not

speaking about USAT activities for approximately five years, Ortiz admitted that the USAT

lawyers advised him to not testify as to anything until the statute of limitations runs out.

       90.     During December of 2018, the Plaintiffs noticed that USAT Officials vacated the

USAT PR Branch premises and took most of the Plaintiffs and other RICO members medical

school documents to an unknown location.

       91.     Presently, the Plaintiffs have not been able to take the medical licensing

examination based on the medical education taken at the USAT PR Branch.




                                                   17
    Case 3:19-cv-01707 Document 1 Filed 07/23/19 Page 18 of 26



       92.     The Plaintiffs paid USAT and the USAT Officials for their medical education

believing that the same qualified for taking the medical licensing examination pursuant to

ECFMG.

       93.     However, the Plaintiffs and other RICO Victims were fraudulently induced by the

Defendants into applying, studying and paying for a medical education at the USAT PR Branch

which does not qualify for any medical licensing examination.

       94.     The Defendants orchestrated the scheme to defraud with the knowledge to

deceive Plaintiffs by means of false or fraudulent pretenses, representations, promises or other

deceptive conduct.

       95.     Specifically, the Defendants falsely represented that the USAT PR Branch was

licensed and certified to assist the Plaintiffs to be eligible for the medical licensing examination

pursuant to the ECFMG.

       96.     The Defendants followed this scheme from early 2017 until present time, when

the Plaintiffs and other RICO Victims were notified that they were not eligible to take the

medical licensing examination pursuant to the ECFMG.

       97.      The Defendants knowingly and frequently used mails and interstate wire in

furtherance of the fraudulent scheme.

       98.     Specifically, the Defendants sent regular mails and electronic mails with USAT

Brochures and Information which induced Plaintiffs to understand that USAT PR Branch had its

proper licenses and credentials because it was an extension of the main campus and/or main

campus of USAT.




                                                  18
    Case 3:19-cv-01707 Document 1 Filed 07/23/19 Page 19 of 26



       99.    This information induced Plaintiffs to enter into a transaction and pay USAT for

taking classes and credits at the USAT PR Branch because they understood that it was an

extension of the main campus and/or main campus USAT.

       100.   This understanding was based on the representations that they had to physicially

attend medical classes at the USAT PR Branch.

       101.   Defendants also directed mail and interstate wire transfers with Banks in

furtherance of the scheme.

       102.   Defendants requested that the Banks give Plaintiffs and other RICO Victims

student loans to pay for the USAT PR Branch medical education, even though Defendants had

knowledge that it was neither licensed or certified under ECFMG.

       103.   Finally, Defendants fabricated certain costs and expenses when they directed

invoices to the Plaintiffs and the other RICO Victims, demanding more payment in order to issue

USAT transcripts.

       104.   Plaintiffs and Other RICO Victims contend that they do not owe any more in

student loans to Defendants, because the Defendants received the same.

       105.   Based on the before mentioned facts, the Defendants have incurred in acts and

omissions that have caused damages to the Plaintiffs.

       106.   USAT Officials are agents who are duly authorized by USAT, who committed

and/or cooperated with the acts or omissions in the course and scope of her agency relationship,

thus imposing liability to USAT.

       107.   USAT had knowledge of the USAT Officials’ acts or omissions. USAT did not

take any proper action to rectify and/or avoid the acts or omissions incurred by the USAT




                                                19
    Case 3:19-cv-01707 Document 1 Filed 07/23/19 Page 20 of 26



Officials. The Defendants allowed the USAT Officials to fraudulently induce the Plaintiffs into

entering into an agreement with USAT in order to pay for a medical education.

       108.   USAT had knowledge of the USAT Officials’ acts or omissions. USAT did not

take any proper action to rectify and/or avoid the acts or omissions incurred by the USAT

Officials. The Defendants allowed the USAT Officials to materially breach their contractual

obligation to the Plaintiffs after receiving monetary payments in exchange for the medical

education that did not comply with the licensing and requirements pursuant to ECFMG.

       109.   Company ABC was the parent company or an affiliated company of the

Defendants. Company ABC had knowledge of the USAT Officials’ acts or omissions. Company

ABC did not take any proper action to rectify and/or avoid the acts or omissions incurred by the

USAT Officials. Company ABC allowed the USAT Officials to fraudulently induce the

Plaintiffs into entering into an agreement with USAT in order to receive monetary payments in

exchange for the medical education that did not comply with the licensing and requirements

pursuant to ECFMG. Company ABC allowed the USAT Officials to materially breach their

contractual obligation to the Plaintiffs after receiving monetary payments in exchange for the

medical education that did not comply with the licensing and requirements pursuant to ECFMG.

       110.   John & Jane Doe had knowledge of the USAT Officials’ acts or omissions. John

& Jane Doe did not take any proper action to rectify and/or avoid the acts or omissions incurred

by the USAT Officials. John & Jane Doe allowed the USAT Officials to fraudulently induce the

Plaintiffs into entering into an agreement with USAT in order to receive monetary payments.

John & Jane Doe allowed Mr. Feldesman to materially breach his contractual obligation to the

Plaintiff after receiving monetary payments in exchange for the medical education that did not

comply with the licensing and requirements pursuant to ECFMG.




                                                20
    Case 3:19-cv-01707 Document 1 Filed 07/23/19 Page 21 of 26



        111.    At the time of these incidents, Insurance Company XYZ held an insurance policy

in favor of the Defendants, specifically to cover said claims. Said insurance policy was in force

at the time of the incidents.

        112.    Plaintiffs have suffered economic and emotional damages based on Defendants

intentional and/or knowingly acts in violation of RICO.

        113.    Plaintiffs seek treble damages (triple damages) for their economic and emotional

damages, plus payment of interest.

        114.    Plaintiffs seek demand for the rescission of the agreement entered with

Defendants.

        115.    The Defendants are liable for all the Plaintiffs’ damages.

                                  FIRST CAUSE OF ACTION

                                            RICO ACT

        116.    Plaintiff re-alleges each allegation stated in the preceding paragraphs as if fully

set forth herein.

        117.    As described above, Plaintiffs suffered an injury due to Defendants’ actions in

violation of RICO.

        118.    As described above, Defendants’ conduct and participation demonstrates that they

were operating and managing the false representations made by USAT.

        119.    As described above, Defendants falls under the definition of an enterprise as

defined by RICO.

        120.    As described above, Defendants demonstrated a frequent pattern of racketeering

as defined by RICO.




                                                  21
    Case 3:19-cv-01707 Document 1 Filed 07/23/19 Page 22 of 26



        121.    As described above, Defendants engaged in a scheme to defraud with the specific

intent to defraud.

        122.    As a result of Defendants’ violation of RICO, Defendants are liable for

compensatory, statutory, treble and liquidated damages pursuant to RICO, 18 USC 1962, et seq.

        123.    The economic and emotional damages suffered by the Plaintiffs are estimated at

no less than nine million dollars ($9,000,000.00).

        124.    Additionally, the Defendants are liable for treble damages that are estimated at no

less than twenty-seven million dollars ($27,000,000.00).

                                SECOND CAUSE OF ACTION

                                FRAUDULENT INDUCEMENT,

                      OR IN ALTERNATIVE, BREACH OF CONTRACT

        125.    Plaintiffs re-allege each and every allegation stated in the preceding paragraphs as

if fully set forth herein.

        126.    The Defendants obtained the Plaintiffs’ consent to enter into an agreement with

Defendants through deceptive means.

        127.    Defendants used false words and/or insidious machinations in order to induce the

Plaintiffs to enter into an agreement with Defendants, which without the existence of false words

and insidious machination the Plaintiff would not have entered in said contract.

        128.    Defendants knowingly did not disclose to Plaintiffs the lack licenses and

credentials of the USAT PR Branch and that USAT did not comply with rules pursuant to

ECFMG.

        129.    Defendants falsely represented to Plaintiffs the costs and expenses taken during

the USAT PR Branch community.




                                                  22
    Case 3:19-cv-01707 Document 1 Filed 07/23/19 Page 23 of 26



        130.    In the alternative that the Defendants are not found to have fraudulently induced

the Plaintiffs, the Defendants entered into a valid contract with the Plaintiffs.

        131.    A valid contract exists because the Plaintiffs and Defendants consented to bind

themselves with regard to one another, in which Plaintiffs would pay Defendants a sum amount

of money in exchange for Defendants services

        132.    As a result of Defendants’ fraudulent inducement, or in the alternative, breach of

contract, Defendants are liable for compensatory, statutory, treble and liquidated damages

pursuant to RICO, 18 USC 1962, et seq.

        133.    The economic and emotional damages suffered by the Plaintiffs are estimated at

no less than nine million dollars ($9,000,000.00).

                                  THIRD CAUSE OF ACTION

                                       TORTS DAMAGES

        134.    Plaintiffs re-allege each and every allegation stated in the preceding paragraphs as

if fully set forth herein.

        135.    Defendants’ actions constitute an act or omission which caused damage to

Plaintiffs. Said act or omission was incurred due to fault or negligence.

        136.    All Defendants are liable to Plaintiffs pursuant to Article 1802 of the Civil Code

of Puerto Rico, 31 LPRA sec. 5141.

        137.    Defendants are vicariously liable for damages caused by their officers and/or

employees in their service pursuant to Article 1803 of the Civil Code of Puerto Rico, 31 LPRA

sec. 5142.

        138.    John & Jane Doe’s actions constitute an act or omission which caused damage to

Plaintiff. Said act or omission was incurred due to fault or negligence.




                                                   23
    Case 3:19-cv-01707 Document 1 Filed 07/23/19 Page 24 of 26



        139.    John & Jane Doe’s are liable to Plaintiff pursuant to Article 1802 of the Civil

Code of Puerto Rico, 31 LPRA sec. 5141.

        140.    Company ABC’s actions constitute an act or omission which caused damage to

Plaintiff. Said act or omission was incurred due to fault or negligence.

        141.    Company ABC is liable to Plaintiff pursuant to Article 1802 of the Civil Code of

Puerto Rico, 31 LPRA sec. 5141.

        142.    Defendants’ actions as subsidiary company of Company ABC constitute an act or

omission which caused damages to Plaintiff. Said act or omission was incurred due to fault or

negligence.

        143.    Therefore, Company ABC is vicariously liable for damages caused by the

Defendants’ in their service pursuant to Article 1803 of the Civil Code of Puerto Rico, 31 LPRA

sec. 5142.

        144.    All before mentioned Defendants are jointly and severally liable for their

negligent and intentional tort actions.

        145.    As a result thereof, Defendants’ are liable for compensatory and statutory

damages pursuant to Article 1802 and 1803 of the Civil Code of Puerto Rico, 31 LPRA sec.

5141, 5142. These damages are estimated at no less four million five hundred thousand dollars

($4,500,000.00).

                                  FIFTH CAUSE OF ACTION

         INSURANCE COMPANIES ARE JOINTLY AND SEVERALLY LIABLE

        146.    Plaintiff re-alleges each and every allegation stated in the preceding paragraphs as

if fully set forth herein.




                                                  24
    Case 3:19-cv-01707 Document 1 Filed 07/23/19 Page 25 of 26



        147.    Insurance Company XYZ is directly, jointly and severally liable, along with the

other Co-defendants to the Plaintiff for the damages caused by their insured, pursuant to the

terms and coverage of their respective policy of insurance.

                                  SIXTH CAUSE OF ACTION

                    ATTORNEYS FEES AND PREJUDGMENT INTEREST

        148.    Plaintiff re-alleges each and every allegation stated in the preceding paragraphs as

if fully set forth herein.

        149.    Defendants’ are liable to Plaintiff for attorney’s fees and costs under relevant

federal law.

        150.    Defendants’ are liable for prejudgment interest pursuant to federal rules and law.

                                             PRAYER

        Wherefore, all allegations considered, Plaintiffs prays that judgment be entered in their

favor and against all Defendants’, specifically:

        1. Granting Plaintiffs’ Complaint against Defendants. This Court should grant Plaintiffs

            complaint and find that the Defendants are liable to the Plaintiffs based on the RICO

            Act, Fraudulent Inducement, or in the alternative Breach of Contract and tort civil

            action pursuant to Article 1802 of the Puerto Rico Civil Code.

        2. An order directing Defendants to reinstate Plaintiff to his former position and to cease

            and desist of any further wrongful conduct.

        3. Awarding compensatory, statutory, treble and liquidated damages pursuant to federal

            law which establishes attorney’s fees, costs and any other legal or equitable relief as

            the Court deems appropriate.

        4. Awarding Plaintiff lost benefits, both past and future.




                                                   25
    Case 3:19-cv-01707 Document 1 Filed 07/23/19 Page 26 of 26



        5. Awarding Plaintiff, the amounts before mentioned in the Complaint.

        6. Awarding Plaintiff compensatory and statutory damages pursuant to Article 1802 and

           1803 of the Civil Code of Puerto Rico, 31 LPRA sec. 5141, 5142.

        7. Awarding Plaintiff reasonable attorney’s fees, together with costs, litigation expenses,

           and necessary disbursements.

        8. Awarding Plaintiff any and all other relief to which Plaintiff may be justly entitled.

                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this same date, I electronically filed the foregoing with

the Clerk of the Court using the CM/ECF system, which will send notification of such filing to

all counsel of record.

        RESPECTFULLY SUBMITTED: In San Juan, Puerto Rico on this 23rd day of July,

2019.

                                      S/VICTOR M. RIVERA-RIOS
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                                                  26
